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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                    )
                                       )                  15-CV-6119 (AJN) (JLC)
              Plaintiff;
                                       )
       v.                              )
                                                          HON. ALLYSON J. NATHAN
                                       )                         DISTRICT JUDGE
Dennis Mehiel, Robert Serpico, The     )
Battery Park City Authority, Howard    )                     HON. JAMES L. COTT
Milstein, Steven Rossi, Janet Martin,                          MAGISTRATE JUDGE
                                       )
Milford Management, Mariners Cove Site
                                       )
B Associates
                                       )
              Defendants.              )
                                       )
                                       )
                                       )
                                       )
                                       )
                                       )
                                       )
                                       )
                                       )
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                                       )


  PLAINTIFF’S OPPOSITION TO BPCA’S LOCAL CIVIL RULE 56.1 STATEMENT

       Pursuant to Local Civil Rule 56.1, Plaintiff hereby submits this statement of the material

facts opposing the alleged “facts” listed in the BPCA’s Rule 56.1 statement (Dkt. No. 377). The

exhibits referenced are from Plaintiff’s memorandum of law. The following numbered

paragraphs correspond with the paragraphs in the BPCA statement of facts.




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Formation and Governance of the BPCA

       1.      “Established in 1968, the BPCA is a New York State public benefit corporation

created by statute. (See N.Y. Pub. Auth. Law § 1970, et seq. (the “BPCA Act”).)”

       2.      “The BPCA Act provides that the membership of the BPCA shall consist of a

board made up of “seven members to be appointed by the governor with the advice and consent

of the senate” and that the “members shall elect the chairman of the authority from among their

number.” (BPCA Act § 1973 (1)–(2).)” Of note, this might not be a fact soon. A new state bill

awaiting Governor Cuomo’s signature requires at least two of the board members to be local

Battery Park residents. See Senate Bill S130A of the 2017 session.

       3.      “The BPCA Act further provides that “[a] majority of the members of the

authority shall constitute a quorum for the transaction of any business or the exercise of any

power or function of the authority. The authority may delegate to one or more of its members, or

to its officers, agents or employees, such powers and duties as it may deem proper.” (BPCA Act

§ 1973 (7).)” Note, the fact that the board does indeed delegate power to Chairman Mehiel, CFO

Serpico, etc., which means they are the final decisionmakers of “official policy”. The BPCA

argues in their MOL that “municipal liability” under section 1983 does not apply because the

actions to bar Plaintiff were not official policy.

       4.      “The BPCA has the authority to “lease, hold, mortgage and dispose of real

property” under its jurisdiction, and to engage in contracts with private developers for “leases

and subleases” of BPCA property. (See BPCA Act § 1974 (3) & (8)). However, the BPCA has

no authority to enter, cancel, renew, or manage, in any way, the leases or mortgages of individual

BPCA residents living in private residential buildings located within the BPCA. (See BPCA Act

§ 1974.)”




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       5.      “Such decisions concerning individual resident leases or condominium mortgages

are exclusively within the province of the private landlords that own and/or manage the

residential buildings located in Battery Park City. (See Declaration of Michael Tremonte

(“Tremonte Decl.”) ¶ 4, Ex. 3 (“McCabe Dep.”) at 68:19 – 69:8.)”. This is disputed. The BPCA

is the “landlord” of the residential building managers (See BPCA Act § 1974). None of the real

estate defendants actually own the land. It is all part of a 100-year lease. Therefore, the BPCA

could exert power over those building managers to influence individual resident leases, as the

BPCA did in this instant case before the Court (see Greer Decl. at ¶ 2).

       6.      “Dennis Mehiel (“Mehiel”) is the Chairman and Chief Executive Officer of the

BPCA. He has held these positions since his appointment was confirmed on June 20, 2012.

(Declaration of Dennis Mehiel (“Mehiel Decl.”) ¶ 1.)”

       7.      “Shari C. Hyman (“Hyman”) is the President and Chief Operating Officer of the

BPCA. Her appointment was approved by the BPCA board on January 28, 2014. (Declaration

of Shari C. Hyman (“Hyman Decl.”) ¶ 1.)”

Plaintiff’s Tenancy at 200 Rector Place and the BatteryPark.TV Blog

       8.      “From 2002 until April 2014, Plaintiff leased apartment 35F (the “Apartment”) in

the residential building located at 200 Rector Place in Battery Park City. 200 Rector Place is

owned by Milford Management. (See Corrected Amended Complaint, ECF No. 85 (“CAC”)

¶¶ 26, 33; Tremonte Decl. ¶ 6, Ex. 5 (“Milstein Dep.”) at 8:5–15; Tremonte Decl. ¶ 7, Ex. 6

(“Rossi Dep.”) at 11:4–9.)” This is disputed. A consortium of LLC companies collectively

known as Mariners Cove Site B Associates, not Milford Management, owns the residential

building at 200 Rector Place. Milford is just a separate company established by defendant




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Milstein to earn revenue from the apartments that he never sold as condos and rented out (see

Greer Decl. at ¶ 3).

          9.    “In or about 2009, Plaintiff began operating an internet blog called

BatteryPark.TV, which has the URL address www.batterypark.tv. Plaintiff posted content on

BatteryPark.TV concerning, among other things, Battery Park City and the BPCA. (See CAC

¶ 29.)”

          10.   “Milford Management leases the land on which 200 Rector Place is located from

the BPCA, pursuant to the terms of a written ground lease. (Hyman Decl. ¶ 5.)” This is disputed

(see supra ¶ 8). Mariners Cove Site B Associates is the entity that leases the land.

          11.   “The BPCA has no authority to enter, cancel, renew, or manage, in any way, the

leases or mortgages of individual residents living in 200 Rector Place. (See BPCA Act § 1974;

Hyman Decl. ¶¶ 3–4.)” This is not a fact. This is disputed due to lack of evidence. The only

evidence provided by the BPCA to support this disputed fact is in the form of the Hyman

declaration. Hyman merely refers to “See BPCA Act § 1974” and states no specific section of

that New York statute. In fact, nowhere in the BPCA act does it detail whether or not the BPCA

could do such a thing.

          12.   “Milford Management did not renew Plaintiff’s lease, which expired in April

2014. (See Rossi Dep. at 11:10–18; Tremonte Decl. ¶ 17, Ex. 16.)” This is disputed. Mariners

Cove Site B Associates is the entity that controlled the lease (see supra ¶ 8).

          13.   “After the expiration of Plaintiff’s lease, Plaintiff “held over” and remained in the

Apartment until he was ordered to vacate the Apartment pursuant to the terms of a final

judgment and warrant of eviction, which were entered by the Civil Court of the City of New

York Housing Part (“housing court”) on or about January 28, 2016. (See ECF No. 184-4 at 2.)




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The housing court judgment and warrant of eviction were stayed temporarily, and Plaintiff

vacated the apartment on April 6, 2016. (See Tremonte Decl. ¶ 20, Ex. 19.)”



Plaintiff’s Documented History of Harassing and Threatening Conduct

          14.     “During the time period at issue in this litigation, Plaintiff displayed a consistent

pattern of harassing and, at times, threatening behavior towards BPCA employees. Reports

indicate that he has displayed a similar pattern of conduct towards Battery Park City residents.

(See infra.)” This is disputed. This is a not even a “statement” of fact because it is so vaguely

worded. For example, what is the “time period at issue”? The BPCA intentionally made this

statement vague because the only alleged misconduct by Plaintiff took place well after the

decision to retaliate against Plaintiff was made. The BPCA lawyers are trying to mislead this

court.

          15.     “For example, in March 2013 the BPCA received a report from Captain Falcon,

the commanding officer of the Parks Enforcement Patrol (“PEP”) – a division of the New York

City Department of Parks and Recreation that the BPCA had retained to supervise its parks and

public spaces to ensure compliance with applicable rules and regulations. Specifically, Captain

Falcon forwarded an email from a PEP officer to then-BPCA General Counsel Phillis Taylor and

BPCA attorney Seema Singh (“Singh”), with a carbon copy to Serpico. (See Tremonte Decl.

¶ 12, Ex. 11.)”

          16.     “The email described an incident involving a Battery Park City resident, who had

approached Plaintiff at a local grocery store to discuss articles about the resident that Plaintiff

had written and published on BatteryPark.TV. When the resident approached Plaintiff, Plaintiff

“start[ed] to yell and take his camera phone out to videotape her,” at which point the resident




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called 911. When the responding officer arrived, Plaintiff approached the officers and began

“yelling and screaming” at them. When the officers tried to take a statement from Plaintiff,

Plaintiff began videotaping the PEP and NYPD officers, at which point they ceased questioning

him. (Id.)”

       This is disputed. This is not an admissible fact because it is hearsay, per Federal Rules of

Evidence 802, and part of the obvious smear campaign being used as a defense strategy. This

alleged incident is also unrelated to any interaction with a BPCA employee and irrelevant.

Therefore, it is inadmissible per FRE 401 and 403. It is also a plain attempt to destroy Plaintiff’s

character with irrelevant innuendo, and inadmissible per FRE 405.

       This disputed fact is nothing but the biased email of a PEP officer who would soon lose

his job as a result of Plaintiff’s press coverage. The PEP officers were the subjects of Plaintiff’s

original complaint. The Plaintiff had been reporting on corruption within the PEP ranks and they

were retaliating against Plaintiff. As a result of that reporting, the BPCA cancelled the city

contract for the PEP services and replaced them with private security (see Greer Decl. at ¶ 4).

       The unnamed woman referenced in the email by the PEP captain is Karen McDermott, a

Xerox sales executive at the time who used to live in Battery Park City. She was in fact an

unstable woman with prior police reports filed against her for sending hate-speech emails to

Plaintiff in response to his reporting on BatteryPark.TV (see Greer Decl. at ¶ 5). Plaintiff did not

know the woman whatsoever prior to these attacks, but she apparently knew him. Her unsolicited

emails to Plaintiff were graphic and used homophobic slurs (see Greer Decl. at ¶ 5). The police

incident mentioned in the email occurred after the deranged woman stalked and confronted

Plaintiff inside a grocery store. When Plaintiff told the police officers about the woman, they

called and verified that she had police reports filed on her. That is why they dropped the




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investigation and drove away. Detective Tommy Moran of the NYPD First Precinct handled the

matter. (see Greer Decl. at ¶ 5).

        17.     “As of the date of the incident described in this email, Plaintiff was in the habit of

frequently calling the BPCA offices. (See infra.) During these calls, Plaintiff raised his voice,

used foul and abusive language, and generally treated the BPCA staff in an offensive and

demeaning manner. (McCabe Dep. at 33:4–11; Tremonte Decl. ¶ 8, Ex. 7 (“Serpico Dep.”) at

39:4–13.)” These are disputed facts and Plaintiff strongly refutes them. The evidence provided is

nothing more than the biased testimony from the defendants, which a jury would find to be not

credible. It is all part of the smear campaign. There is no actual evidence to support these claims

other than their testimony. Plaintiff cannot provide evidence to dispute these because he cannot

disprove a negative. The lack of evidence provided by the defendants is the proof needed. In the

following paragraphs, the BPCA presents “call log” evidence. They will be refuted individually.

        18.     “The BPCA staff maintained a call log that documented in writing Plaintiff’s calls

to the BPCA offices and the details of his inappropriate behavior on those calls. (See Hyman

Decl. ¶ 22, Ex. 12.)” This is disputed. This “call log” is nothing but handwritten anonymous

notes. Unlike emails, for example, these notes are impossible to date and could easily have been

written after Plaintiff filed this lawsuit. This evidence would be inadmissible hearsay during a

trial, per FRE 802. It is all part of the smear tactics strategy.

        19.     “The call log contains the following entries, among others, concerning Plaintiff’s

behavior toward the BPCA staff over the phone in 2013 and 2014:

                a.      November 26, 2013: Plaintiff hung up on the BPCA staff. He called back

                shortly thereafter “screaming” at the BPCA receptionist to never “put me on hold

                until I give you permission to.” (Hyman Decl. ¶ 22(a) (emphasis added).) This is




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       disputed. On page 6 of Hyman’s Exhibit 12, the handwritten log note is not signed

       by anyone and there is no declaration to verify it. The same goes for the following

       log pages (b)-(g). These are ex post facto concocted evidence as part of a

       desperate defense strategy. This evidence would be inadmissible hearsay during a

       trial, per FRE 802. It is all part of the smear tactics strategy. Plaintiff never called

       anyone at the BPCA on November 26, 2013 (see Greer Decl. at ¶ 17).

       b.      March 22, 2014: When Plaintiff was told that a certain BPCA executive

       was in a meeting and could not take his call, Plaintiff began cursing at the BPCA

       administrative staff, stating, “Aww fu**, that’s bullsh**.” (Hyman Decl. ¶ 22(b)

       (emphasis added).) This is disputed. First, there is no log sheet entry dated March

       22, 2014 in the referenced Exhibit 12. However, there is an entry on page 8 from

       March 11th. It is by an anonymous person writing “for Robin Forst” and there is

       no declaration from the mystery author. There is no phone number of the caller

       recorded either. This evidence would be considered hearsay during a trial, per

       FRE 801, and inadmissible per FRE 802. Plaintiff never called anyone at the

       BPCA on November 26, 2013 (see Greer Decl. at ¶ 17).

               Why might Robin Forst not have actually made the log note herself?

       Robin Forst was fired by the BPCA in April of 2016 (see Greer Decl. at ¶ 6), long

       before this Hyman declaration was created recently in June of 2017. It is possible

       that Forst was not around when this bogus log entry was created in 2017 and then

       post-dated to appear as if it were written on March 11, 2014.




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              Why did the BPCA use handwritten logs rather than verifiable emails?

       Perhaps this is because Ex post facto emails would be more traceable. In fact, the

       BCA did begin using emails to document calls (infra at ¶ 21-25).

              May 29, 2014: When Plaintiff was told that a BPCA executive was

       unavailable to take Plaintiff’s call, Plaintiff accused the BPCA receptionist of

       lying and instructed her to “fu**ing put her on the phone now.” (Hyman Decl.

       ¶ 22(c) (emphasis added).) This is disputed. On page 10 of Exhibit 12, the log

       entry again is not signed and dated, but rather made by an anonymous person on

       behalf of Robin Forst. Therefore, this log entry is defined as hearsay by FRE 801

       and inadmissible per FRE 802. Plaintiff never called anyone at the BPCA on

       November 26, 2013 (see Greer Decl. at ¶ 17).

       c.     October 2, 2014: Plaintiff became upset after he was told that Hyman was

       unavailable to take his call; he berated the BPCA secretary, stating: “What the

       fu** do you mean she’s not available? She’s getting paid to sit on her a** all

       day? She’s making money and she’s not fu**ing available? . . . What the fu** do

       you guys do all day? . . . [Y]ou guys are fu**ing crooks and I hope you know

       who you’re working for.” (Hyman Decl. ¶ 22(d) (emphasis added).) This is

       disputed. On page 13 of Exhibit 12, the log entry again is not signed and dated,

       but rather made by an anonymous person. Plaintiff is not mentioned by name, but

       rather “a man called”, and no phone number of the caller is listed. There is no

       declaration from the unknown author. Therefore, this log entry is defined as

       hearsay by FRE 801 and inadmissible per FRE 802. Plaintiff never called anyone

       at the BPCA on November 26, 2013 (see Greer Decl. at ¶ 17).




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       d.     October 20, 2014: After being told Serpico was not available to take his

       call, Plaintiff threatened the BPCA secretary that she would be “going to jail” if

       she was “lying” about Serpico’s availability. (Hyman Decl. ¶ 22(e) (emphasis

       added).) This is disputed. There is no name of the log entry author nor any

       declaration from the author. Hyman intentionally does not mention the name of

       the “receptionists”. Therefore, this log entry is defined as hearsay by FRE 801 and

       inadmissible per FE 802. Plaintiff never called anyone at the BPCA on November

       26, 2013 (see Greer Decl. at ¶ 17).

       e.     October 21, 2014: One day later, Plaintiff called the BPCA again asking

       to speak to several members of the BPCA staff. At one point, Plaintiff stated,

       “Let me speak to Robin, the one that gets paid to sit on her ass.” (Hyman Decl.

       ¶ 22(f) (emphasis added).) This is disputed. There is no name of the log entry

       author nor any declaration from the author. Hyman intentionally does not mention

       the name of the “receptionists”. Plaintiff’s name is not listed, but rather

       “Anonymous caller” is listed. Nowhere in the log entry is it written that Plaintiff

       stated, “Let me speak to Robin, the one that gets paid to sit on her ass.” Therefore,

       this log entry is defined as hearsay by FRE 801 and inadmissible per FRE 802.

       Plaintiff never called anyone at the BPCA on November 26, 2013 (see Greer

       Decl. at ¶ 17).

              Of note, there is nothing in this log entry that would qualify as harassing

       behavior.

       f.     October 23, 2014: “He asked me if my name was Cherish and that now I

       have made myself apart of all of this and then he hung up.” (Hyman Decl.




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              ¶ 22(g))” This is disputed. There is no name of the log entry author nor any

              declaration from the author. Hyman intentionally does not mention the name of

              the “receptionists”. Therefore, this log entry is defined as hearsay by FRE 801 and

              inadmissible per FRE 802. Plaintiff never called anyone at the BPCA on

              November 26, 2013 (see Greer Decl. at ¶ 17). Of note, there is nothing alleged in

              this log entry that would qualify as harassing behavior.

       20.    “During 2014, Battery Park City residents complained to BPCA officials about

Plaintiff’s harassing and threatening conduct. These complaints included:

              a.      July 11, 2014: A Battery Park City resident who organized a summer

              camp program for local elementary and middle school students wrote to Hyman,

              Serpico and other BPCA executives about Plaintiff’s conduct, noting that Greer

              had “continually harassed” him, made “insulting and angry calls to [his] staff,”

              and made personal inquiries about the location of his residence and his wife.

              (Hyman Decl. ¶ 6, Ex. 1.)” This is disputed. Even if this is an indisputable fact, it

              is irrelevant to this case and nothing but a smear campaign. Therefore, Plaintiff’s

              alleged behavior is irrelevant as a defense for them, per FRE 401, and

              inadmissible per FRE 402.

                      Also, the “summer camp organizer” is Bob Townley who lives in Tribeca,

              not Battery Park City. Townley, Like Forst, was a political operative and part of

              the vast web controlled by Sheldon Silver. Plaintiff had reported on many

              occasions evidence of graft and corruption associated with Mr. Townley’s

              community center. For example, Plaintiff discovered that the BPCA was awarding

              Townley annual grants of $250,000, despite Townley and his community center




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               not even being located within Battery Park. As a result of the reporting,

               Townley’s ill-gotten grants were cut off (see Greer Decl. at ¶ 7).

               b.     “August 15, 2014: Another Battery Park City resident wrote the following

               email to Captain Falcon, which was then forwarded to Hyman and other BPCA

               executives:

                      In the last week alone, my children have been accused
                      twice of playing ‘organized games’ on the lawn. . . . Dr.
                      Greer and I have had prior heated discussions when he has
                      personally tried to kick parents/kids off the grass if he
                      perceived it looked like ‘organized’ play (I.e [sic] if you
                      own a soccer ball, have a pop goal or cones and more than
                      2 children, you are accused of ‘teaching a class’). He has
                      tried to video children playing on the lawn because they
                      were ‘destroying the grass’ without parental consent. He
                      has followed parents into the playground area to which I
                      have reminded him, to his indignation, that he is not
                      allowed without a child. He has had altercations with other
                      parents. This individual has no children and therefore has
                      no idea what a family playing looks like. He also has no
                      right to harass children which in my opinion is what he is
                      doing by constantly phoning complaints. My eldest son (11
                      yrs) knows who he is and is intimidated when in the
                      elevator with him. He witnessed Greer yelling at me over
                      the lawn issue last summer. If complaints should be made,
                      I believe they should be made against this man for
                      harassment of children and false reporting to the park
                      police.”

               (Hyman Decl. ¶ 7, Ex. 2 (emphasis added).)”

       This is disputed and all part of a smear campaign that is irrelevant to this case. The

incident described took place a mile from the BPCA boardroom, had nothing to do with BPCA

meetings, and is of no consequence to the BPCA barring Plaintiff from board meetings.

Therefore, per FRE 401, it is irrelevant, and per FRE 402, inadmissible. Per FRE 403, it is

inadmissible too because it is meant to mislead the jury by confusing the issue.




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        Since Plaintiff never acted inappropriately during any board meeting to justify the BPCA

barring him from public meetings, the lawyers are now at this late stage engaging in a smear

campaign to sway this Court. They provide no verifiable or relevant evidence.

        (Note: If this anonymous inadmissible email is indeed genuine, then it confirms

Plaintiff’s reporting on BatteryPark.TV that a local “soccer mom” living in the same building at

200 Rector Place as Plaintiff was conspiring with the BPCA to remove “green space” of the

lawn, which is protected by state and federal environment laws, and replace it with dangerous

artificial turf. She succeeded. After the intentional destruction of two sod grass fields1, destroyed

by her children wearing soccer cleats, the BPCA used that as an excuse to award a rigged RFP

contract to a crony of the governor to install the artificial turf. The BPCA violated city, state, and

federal laws that regulate how protected park space is to be used when they installed the artificial

turf (see Greer Decl. at ¶ 8).


Plaintiff’s Harassing Conduct Leading up to the BPCA Board Meeting on June 9, 2015

        21.      “In or about December 2014, Plaintiff obtained a list containing the personal cell

phone numbers of BPCA staff members. (Tremonte Decl. ¶ 3, Ex. 2 (“Greer Dep.”) at 208:17 –

210:18; Hyman Decl. ¶ 18.)” This is disputed. In Plaintiff’s deposition testimony referenced

above, he clearly states that he does “not recall” details about this list of numbers (see Greer

Dep. at 209:13-15).

        22.      “After obtaining that list (Hyman Decl. ¶ 18), Plaintiff frequently called the

personal cell phone numbers of BPCA staff members (see Greer Dep. at 209:16 – 210:14.) and

spoke to them in an abusive and harassing manner, as described below.” This is disputed and


1
 See story on BatteryPark.TV http://batterypark.tv/real-estate/soccer-mom-destroys-other-half-of-west-thames-
grass-field.html




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there is no exhibit or evidence whatsoever provided to proof that Plaintiff was “abusive” or

“harassing”. Nothing in the Greer deposition referenced supports this. In fact, in Exhibit 4

referenced by Hyman in her declaration, Plaintiff sent an email to memorialize his call to her. He

had nothing to hide. The purpose of this memorialization was to document how the BPCA was

violating Plaintiff’s freedom of the press by singling him out to not communicate with him while

the BPCA was still communicate with other members of the press.

       23.      “On December 5, 2014, Plaintiff called Hyman on her personal cell phone

multiple times. He then wrote Hyman an email confirming he had called her on her “cell” and

“recorded the call.” (Hyman Decl. ¶ 19, Ex. 4; Greer Dep. at 209:19 – 210:14.)” This is a fact.

However, Plaintiff was forced to do this after the BPCA stopped communicating with Plaintiff

through their official press point of contact, Robin Forst, or any other landline official number.

The BPCA staff had been instructed to ignore Plaintiff. Plaintiff left a message on the cell

phones informing them that they were violating the First Amendment by singling out Plaintiff

and not returning his calls, while they maintained communications with other reporters.

       24.     “This incident upset Hyman, as she had never provided Plaintiff her personal cell

phone number nor authorized anyone else to do so, and she contacted the Manhattan District

Attorney’s office. (See Hyman Decl. ¶ 20.)” This is disputed. Hyman provides no evidence that

she was “troubled” enough to warrant calling the Manhattan DA. There are no copies of a

complaint filed. There is no witness who saw Hyman become “troubled”. This would be

inadmissible per FRE 403 because it is meant to mislead the jury by confusing the issue.

        Of note, this tale seems to be fictional drama inspired by real-life incidents that took

place previously within the BPCA. Over a period of many years, Serpico’s secretary, Linda

Soriero, was receiving graphic prank calls from a colleague of Serpcio. When the culprit was




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caught, Soriero prosecuted him through the Manhattan DA’s office. However, the BPCA and

Hyman refused to assist in her prosecution despite Hyman having formerly worked at the DA’s

office (see Greer Decl. at ¶ 9).

       25.     “One month later, on January 20, 2015, Plaintiff called another BPCA employee,

Brenda McIntyre, on her personal cell phone, while obscuring his own phone number from the

recipient’s caller identification screen. He left a voicemail stating that “Deshay was out of line

with the security at the marina” and letting Ms. McIntyre know that she had “been informed.”

(See Hyman Decl. ¶ 11, Ex. 5.)” This is disputed. The BPCA had stopped answering their

official landline phones (supra ¶ 22). The incident in question related to the BPCA illegally

barring the operator of the BPC marina from entering his own boats. Two days later on January

22nd, the BPCA board meeting was attended by approximately 100 members of the public

outraged over the eviction of the marina operator who was replaced by a crony of the governor

(see Greer Decl. at ¶ 10).

       26.     “On March 17, 2015, Plaintiff called the BPCA office and told a BPCA

administrative assistant that she was a “lying piece of trash” after the administrative assistant

informed Plaintiff that one of the BPCA executives was unavailable to take Plaintiff’s call. (See

Hyman Decl. ¶ 12, Ex. 6.)” This is disputed. Hyman is referencing an alleged call made to a third

person named Julissa Garcia but provides no declaration from Garcia. Garcia was not listed as a

witness and Plaintiff did not depose her. This email was generated by Garcia who is a

subordinate to Hyman. The BPCA was already aware by this time that Plaintiff was pursuing

litigation relating to a conspiracy to evict. In summary, the details of the phone call provided in

the email are inadmissible hearsay by Hyman, per FRE 802. Plaintiff never called anyone at the

BPCA on November 26, 2013 (see Greer Decl. at ¶ 17).




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       27.     “Also on March 17, 2015, a caller who refused to give his name called BPCA

attorney Seema Singh. Singh promptly reported by email to Ms. Hyman and others that the

caller “had a rambling story about potentially fake posts that people were trying to get him to

make involving me.” Approximately seven minutes after receiving this report from Ms. Singh,

Ms. Hyman responded to Ms. Singh’s email, and reported that she, too, had received an

anonymous call, and that the caller “started to speak about fake posts by Bob Serpico.” Ms.

Hyman and Ms. Singh recognized the caller as Plaintiff. Ms. Singh noted that, during her call

with Plaintiff, Plaintiff had “called me a cunt, and then I hung up.” (See Hyman Decl. ¶ 13, Ex.

7 (emphasis added).)” This is disputed. Hyman does not even claim that Plaintiff is the culprit.

Instead, she states, “a caller who refused to give his name” There is no declaration or affidavit

from Singh. It is nothing but a smear campaign by the BPCA. Plaintiff never called anyone at the

BPCA on November 26, 2013 (see Greer Decl. at ¶ 17).

       References in the Exhibit 7 email of “for the file” clearly show that the BPCA had

instructed its staff to collect incriminating evidence against Palintiff. These were not

spontaneously generated emails. This evidence would be inadmissible at trial due to the hearsay

rule per FRE 802.

       It is important for this Court to put in perspective any evidence related to Ms. Singh. She

was the target of Plaintiff’s investigative reporting and is also the subject of a federal lawsuit by

Kirk Swanson (Swanson v BPCA 15-cv-6938). Ms. Singh, who is a lawyer and officer of this

Court, has been reported to the disciplinary committee of the First Appellate Division of New

York (see Greer Decl. at ¶ 11) for engaging in criminal rigging of RFP contracts, and assisting

Serpico in destroying his human resources file (see Greer Decl. at ¶ 12).




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         As a result of Plaintiff’s reporting, Singh was essentially fired from the BPCA. She was

relocated to another state authority job at the MTA, likely to appease her and prevent her from

becoming a flipped witness for Swanson and Plaintiff or suing the BPCA (see Greer Decl. at

¶ 12).

         Of note, the accusation that Plaintiff used the word “cunt” has no evidence to support it

and again seems to be fictional drama inspired by the real-world experiences within the BPCA. It

is Serpico who is infamous for screaming vulgar obscenities to women within the BPCA offices

(see Greer Decl. at ¶ 13).

         28.     “Serpico observed Singh directly after she hung up the phone with Plaintiff on

March 17, 2015, and noted that Singh was “visibly upset” by Plaintiff’s offensive remark. (See

Serpico Dep. at 39:4 – 40:10.)” This is disputed. There is no affidavit from the alleged victim,

Seema Singh, likely because Singh was ousted by the BPCA for assisting Serpico with illegal

destruction of documents, etc. (supra ¶ 27). This evidence would be inadmissible at trial due to

the rules against hearsay in FRE 802. Plaintiff never called anyone at the BPCA on November

26, 2013 (see Greer Decl. at ¶ 17).

         Serpico has been known to fabricate elaborate lies to hurt his opponents, such as Plaintiff

in this case. He even acted as an anonymous tipster “mole” feeding fake stories to Plaintiff to get

press coverage in BatteryPark.TV to harm his BPCA opponents who wanted him fired (see Greer

Decl. at ¶ 14). Serpico himself was fired by the BPCA as a result of this federal complaint and

Plaintiff’s press coverage of his scandals (see Greer Decl. at ¶ 15).

         Therefore, if this disputed fact were admissible, a jury would likely disregard it as

unreliable testimony from a biased witness. This Court has the right to block obviously

misleading and unsubstantiated testimony, such as Serpico’s, during trial per FRE 611.




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       29.     “According to Serpico, the language used by Plaintiff in this exchange was typical

of the language Plaintiff used when communicating with BPCA staff. (Serpico Dep. at 39:14–

40:6.)” This is disputed. “According to Serpico” is the operative phrase here. Mr. Serpico was

fired from the BPCA as a result of Plaintiff’s actions and is a defendant in this case (see Greer

Decl. at ¶ 15). His testimony on Plaintiff’s alleged harassing behavior is nothing but a

transparent attempt to create a defense. Plaintiff never called anyone at the BPCA on November

26, 2013 (see Greer Decl. at ¶ 17).

       A reasonable jury would likely not find Serpico to be a credible witness on this matter.

This Court has the right to block obviously misleading and unsubstantiated testimony, such as

Serpico’s, during trial per FRE 611.

       30.     “Several weeks later, during the BPCA’s May 2015 community board meeting,

Plaintiff had an in-person encounter with Mehiel’s chief of staff, Kevin McCabe (“McCabe”),

during which McCabe felt physically threatened. Specifically, after McCabe declined to answer

certain questions posed to him by Plaintiff, Plaintiff leaned his shoulder into McCabe and asked:

“Do you have a problem?” (See McCabe Dep. at 42:25 – 44:8 (emphasis added).)” This is

disputed. Plaintiff never harassed or threatened McCabe at the May of 2015 CB1 meeting (see

Greer Decl. at ¶ 18). The incident did not happen and McCabe provides no evidence other than

his biased testimony. Even if the alleged incident did happen, it is inadmissible as irrelevant (per

FRE 402) to this case since McCabe claims it took place miles away at a Community Board 1

office. Moreover, McCabe does not even claim that Plaintiff did anything other than ask a

question, and the testimony would be inadmissible because it is meant to mislead the jury (per

FRE 403). This Court has the right to block obviously misleading and unsubstantiated testimony

during trial per FRE 611.




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       31.        “On Friday, May 1, 2015, Hyman was informed that Plaintiff had been acting in a

harassing manner towards the artist of the Irish Hunger Memorial – a memorial commissioned

by the BPCA to commemorate the Great Irish Famine. (Hyman Decl. ¶ 14.)” This is disputed. It

is a vague smear using hot-button legal phrases, such as “harassing manner”. Hyman was

“informed by” whom? In fact, no such incident ever occurred and no evidence was proffered

other than the biased testimony of Hyman. Hyman produced no one else as a witness.

       In fact, Plaintiff attended a tour of the Irish Memorial days later on May 3rd whereby the

“artist”, a man named Brian Tolle, was giving a talk. Plaintiff posted a story on BatteryPark.TV

about the event. But on May 1st, Plaintiff had never met the artist before in his life (see Greer

Decl. at ¶ 16).

       Even if this disputed fact did occur, it is irrelevant and inadmissible per FRE 401 and 402

because it has nothing to do with BPCA board meetings, and also because it is meant to mislead

the jury, per FRE 403. This Court has the right to block obviously misleading and

unsubstantiated testimony during trial per FRE 611.

       “The artist had been scheduled to give a tour of the memorial the following Sunday, May

3, 2015. As a consequence of Plaintiff’s conduct, Hyman requested that PEP officers be

stationed near the tour in the event that Plaintiff became disruptive. (Id.)” This is disputed.

Plaintiff was present for this tour and reported on it in BatteryPark.TV (see Greer Decl. at ¶ 16).

However, PEP officers are always present for events in the park. There was no indication that

any PEP officer was there to protect the artist from Plaintiff.

       Even if this act did occur, it is irrelevant and inadmissible per FRE 401 and 402 because

it has nothing to do with BPCA board meetings. This Court has the right to block obviously

misleading and unsubstantiated testimony during trial per FRE 611.




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       32.     “On May 19, 2015, Plaintiff called another BPCA executive, Robin Forst, on her

personal cell phone. (Hyman Decl. ¶ 15, Ex. 8.)” This is not disputed. However, it supports

Plaintiff’s case rather than the BPCA’s arguments. Forst admits in Hyman Exhibit 8 that Plaintiff

was merely calling as a member of the press in order to inquire about BPCA board meeting

dates, and was in no way harassing. A board meeting had been abruptly cancelled on the day of

the call and Forst was not answering her landline, shirking her duties once again.

       33.     “On June 3, 2015, Greer called Craig Hudon, the Director of Parks Programing

for the BPCA, ten times on his personal cell phone, during which Plaintiff “started screaming

“threatening [Hudon’s] f’ing job.” (Hyman Decl. ¶ 16, Ex. 9.)” This is disputed. Plaintiff did

call Mr. Hudon because it is his job duty to deal with the public and the press on events taking

place in the park, such as Shakespeare, etc. However, Hudon was rude and hung up the phone for

no justifiable reason (see Greer Decl. at ¶ 19).

       Mr. Hudon was likely acting as ordered by the leaders of the BPCA who had instructed

the BPCA staff to not speak with Plaintiff. Hudon’s claims that Plaintiff’s behavior (i.e.

screaming and threatening his job) justified his hanging up are not substantiated by any

declaration or evidence from Hudon. The defendants never brought this up during their

deposition of Plaintiff, thereby not allowing Plaintiff to impeach under oath the Hudon claims.

       Therefore, the Hyman allegations that Hudon was harassed by Plaintiff are inadmissible

hearsay per FRE 802. They are also irrelevant to the BPCA boardroom venue from which

Plaintiff was barred and inadmissible per FRE 401 and 402. Mr. Hudon worked outdoors in the

parks far away from the BPCA boardroom. This Court has the right to block obviously

misleading and unsubstantiated testimony during trial per FRE 611.




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       This alleged Hudon incident is just part of the BPCA’s efforts to collect incriminating

evidence on Plaintiff to support their claims that barring him from the next meeting, which was

in June, were “content neutral” and not a violation of his First Amendment rights.

       34.     “On June 3, 2015, Julissa Garcia, a BPCA employee, reported that Plaintiff had

called the BPCA office and yelled, “I NEED TO SPEAK TO ROBIN!” (Hyman Decl. ¶ 17, Ex.

10.)” This is disputed. Plaintiff likely did call Robin Forst’s landline and it was likely answered

by her assistant, Ms. Garcia, because Forst’s job role is to deal with members of the press and

public. However, as clearly detailed in Hyman’s Exhibit 10, Forst was derelict in her duties and

screening her calls, instructing Garcia to not pass through calls from Plaintiff, violating the First

Amendment.

       There is no evidence that Plaintiff was inappropriately harassing or screaming at Ms.

Garcia (see Greer Decl. at ¶ 20). There is no declaration from Garcia or any transcript of the call.

Hyman is merely inserting her opinion that Plaintiff “yelled”. Garcia never claimed this. As

such, Hyman’s “fact” in her ¶ 35 is inadmissible hearsay per FRE 802. It is also irrelevant to

their defense strategy that claims Plaintiff was a harassing menace worthy of being barred from

meeting. Therefore, it is inadmissible per FRE 401 and 402. This Court has the right to block

obviously misleading and unsubstantiated testimony during trial per FRE 611.

       35.      “On June 5, 2015, Greer again called Hyman on her personal cell phone and

stated, “Hey, did you hear the good news? [Community Board member and Battery Park City

resident] Jeff Galloway is going to prison.” (Hyman Decl. ¶ 21, Ex. 11.)” This is disputed.

Hyman did not even know for sure who was calling. Hyman just “recognized” the voice. Cell

phones have caller ID, and yet no reference to the incoming call number was made. Plaintiff did

not call Hyman on this date (see Greer Decl. at ¶ 17). This is inadmissible speculation and




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hearsay per FRE 802. It is also irrelevant to the BPCA’s defense and inadmissible per FRE 401

and 402 because nothing in the alleged phone call constitutes even remotely “harassing”

behavior by Plaintiff.

       Of note, it is a fact that Mr. Galloway, a member of the New York establishment and

benefactor of BPCA money though his law firm, was sent to prison for tax evasion and later

disbarred. Galloway was a vocal opponent of Plaintiff and BatteryPark.TV (see Greer Decl. at

¶ 21). Nevertheless, this Galloway matter is irrelevant to this case.

Plaintiff’s Disruptive Conduct at the June 9, 2015 Board Meeting

       36.      “The BPCA periodically convenes board meetings. (Mehiel Decl. ¶ 2; Hyman

Decl. ¶ 23.)”

       37.      “BPCA board meetings typically consist of two sessions: a public session and an

executive session. Public sessions are open to the public; executive sessions, which are

convened only to the extent that the topics to be discussed are permitted by law to be discussed

in executive session, are private. (See McCabe Dep. at 35:4–15; Tremonte Decl. ¶ 5, Ex. 4

(“Mehiel Dep.”) at 29:13–25; Mehiel Decl. ¶ 3.)”

       38.      “The BPCA reception area and boardroom, which are inside the BPCA offices,

are generally open to the public. However, during BPCA board meetings, the public is asked to

leave the boardroom when the board goes into executive session. (Mehiel Decl. ¶ 4; Tremonte

Decl. ¶ 2, Ex. 1.)”

       39.      “The BPCA convened a board meeting on June 9, 2015, at approximately 9:30

a.m. (the “June Meeting”). (Mehiel Decl. ¶ 5; Tremonte Decl. ¶ 42, Ex. 41.)”

       40.      “Plaintiff arrived nearly a half hour before the June Meeting was scheduled to

begin and was asked to wait in the hallway immediately outside the BPCA office. Plaintiff




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became agitated and demanded to be let in early. (See Tremonte Decl. ¶ 30, Ex. 29.) Plaintiff

was permitted to enter shortly before the June Meeting began, at the same time as other members

of the public were permitted to enter. (Id.)” This is disputed. The June 29, 2015 BPCA board

meeting started late. Plaintiff was not early. Plaintiff was not “agitated” or “demanding” as is

proven by video footage (see Greer Decl. at ¶ 22).

       41.     “Plaintiff attended the June Meeting. (Mehiel Decl. ¶ 6.)” This is indeed an

undisputed fact and is crucial evidence to refute the string of falsehoods listed above. If

Plaintiff’s alleged harassing behavior on phone calls prior to the June meeting was so bad as to

warrant him being barred from meetings, then why was Plaintiff allowed into the June meeting?

All of the “harassing calls” allegedly took place long before this June 2015 meeting.

       At the end of this meeting, when the BPCA went into closed-door executive session,

violating New York Open Meeting law, Plaintiff challenged Chairman Mehiel on the legitimacy

of the executive session.

       Hours later at 5:00 PM on June 29, 2015, Mehiel personally sent an email to Brookfield

security to bar Plaintiff from future meetings (infra at ¶ 51). Clearly, it was Plaintiff’s

questioning of the legality of the executive session of this June meeting that incited Mehiel to bar

Plaintiff. The phone calls had nothing to do with the decision.

       42.     “Upon completion of the public session of the June Meeting, Mehiel’s chief of

staff, McCabe, began clearing the boardroom in preparation for the executive session. (McCabe

Dep. at 36:8 – 37:22; Mehiel Decl. ¶ 7; Hyman Decl. ¶ 26.)”

       43.     “Plaintiff remained in the boardroom after every other member of the public had

left. McCabe asked Plaintiff to leave the boardroom. (McCabe Dep. at 32:8–20; 36:8 – 37:22;

Mehiel Decl. ¶¶ 8–9; Hyman Decl. ¶ 27.)”




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        44.    “Plaintiff ignored this request, refused to leave the boardroom, and began

shouting. In particular, Plaintiff shouted at Mehiel, referring to Mehiel was [sic] “the guy that I

wanted the answers from.” (Greer Dep. at 135:12 – 136:7, 138:20 – 139:12 (emphasis added);

Mehiel Decl. ¶ 9; Hyman Decl. ¶ 28.)” This is disputed. Plaintiff did not “begin shouting”

whatsoever and there is no video evidence on the webcast archives to prove this. Plaintiff’s

deposition testimony also conflicts with Mehiel’s version of events. Plaintiff calmly stood up and

said “Excuse me, but why are you going into executive session?” (see Greer Dep. At 135:17-21).

        Also, Hyman was not present in the boardroom at the time of this June 9, 2015

occurrence. McCabe could not recall seeing Hyman. Mehiel and Koenig also made no mention

of Hyman being present at this occurrence during their depositions (see Greer Decl. at ¶ 23).

Therefore, Hyman’s declaration on this matter is inadmissible hearsay (if not perjury) per FRE

802.

        The portion of the Greer deposition cited that states “the guy that I wanted the answers

from.” was just Plaintiff’s recollection during his deposition. He did not testify that those words

were used during the board meeting. Moreover, the Greer deposition is inadmissible evidence

since the entire Greer deposition should be stricken from the record. The defendants forgot to

serve Plaintiff with a notice of deposition. Plaintiff made this objection several times during the

deposition (Greer Dep. at 6:16 – 7:24).

        45.    “McCabe continued to request that Plaintiff to [sic] leave the boardroom, but

Plaintiff refused to leave. (McCabe Dep. at 32:8–20; 36:8 – 37:22; Mehiel Decl. ¶ 10; Hyman

Decl. ¶ 29.)” This is disputed. Hyman was not present (supra ¶ 44) and her declaration on this is

inadmissible hearsay (if not perjury) per FRE 802.




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       46.        “According to Plaintiff, the “non-employees obeyed like sheep” when asked to

leave the boardroom, but “I was tired of this scam where [the BPCA was] keeping the public

out,” so while McCabe was “telling people you have to leave . . . I stood there and I challenged

them, and I don’t remember how I said it, but I said what is the reason for executive session.”

(Greer Dep. at 126:2 – 128:5; 136:18–24 (emphasis added).)” This is disputed. This deposition

testimony is inadmissible, per supra ¶ 44.

       47.        “Plaintiff did not leave the boardroom until McCabe advised him several times

that the police would be called if Plaintiff remained. (McCabe Dep. at 36:8 – 37:22; Mehiel

Decl. ¶ 11; Hyman Decl. ¶ 30.)” This is disputed. McCabe did merely “advise” that he could call

the police, but never needed to do so because Plaintiff left the boardroom promptly. McCabe did

not repeatedly have to make threats of calling the police (see Greer Decl. at ¶ 24). Also, Hyman

was not present in the boardroom at this time (see Greer Decl. at ¶ 24) and her comments on this

incident are inadmissible hearsay per FRE 802.

       48.        “Following Plaintiff’s departure from the boardroom, he remained in the

reception area of the BPCA offices. (See Tremonte Decl. ¶ 30, Ex. 29 at 00:25 – 00:29.)” This is

disputed. The board meeting was not yet concluded and it is routine for Plaintiff and other

attendees to wait until the meeting opens to the public after executive session. However, on this

occasion, Plaintiff promptly left and did not wait for the open sessions to resume (see Greer

Decl. at ¶ 25).

       49.        “Plaintiff then, without authorization, walked into the areas where BPCA staff

offices are located, took photographs of those areas, and filmed those areas without permission.

(See id.)” This is disputed. There are no walls keeping public away from the office cubicles near

the boardroom. This is public space and no signs are posted. Plaintiff did not do anything




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“unauthorized” Also, Plaintiff promptly left the BPCA offices the building. He did not linger in

the reception room waiting for the open sessions to resume (see Greer Decl. at ¶ 25).

Mehiel’s Decision to Bar Plaintiff’s Physical Presence at the Next BPCA Board Meeting

       50.     “Based on Plaintiff’s refusal to leave the June 9 Meeting at the conclusion of the

public session until McCabe indicated he would call the police to remove him, and based on

Plaintiff’s history of harassing and threatening conduct, Mehiel – in consultation with Hyman

and McCabe – directed BPCA staff to exclude Plaintiff from the BPCA’s offices. The BPCA

arranged to provide Plaintiff a live video feed of the public session of future board meetings,

located in a room at 75 Battery Place, a building located a few blocks away from the BPCA main

offices. (See Hyman Decl. ¶ 32; Mehiel Decl. ¶ 12–15, Mehiel Dep. at 29:13–22, 32:24 – 33:13;

McCabe Dep. at 32:8 – 33:22, 49:10 – 50:10, 58:16 – 59:10.)” This is disputed. First, the video

overflow room where Plaintiff was sent after being rejected from the July 29, 2015 BPCA

meeting was in the PEP office headquarters located at 398 West Thames Street (also known as

21 South End Ave.), not at 75 Battery Place (see Greer Decl. at ¶ 26, video of Plaintiff walking

to the video viewing room). This glaring mistake casts into doubt the reliability of the declaration

and testimony that supports this entire disputed fact of this paragraph.

       Secondly, the entire series of events cannot be verified. The only proof that Mehiel

consulted with Hyman and McCabe and then decided to bar Plaintiff “based on Plaintiff’s history

of harassing and threatening conduct” is from their own biased testimony as defendants. They

provided no documents, such as minutes of a board meeting or interoffice email, to prove that the

decision to bar Plaintiff took place as they claim.

       In reality, the evidence contradicts the BPCA’s statement of fact. Mehiel made this

decision to bar Plaintiff in a fit of anger and arrogance, just hours after Plaintiff challenged his




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authority in the boardroom on June 9, 2015. That decision had nothing to do with Plaintiff’s

alleged history of calling and harassing staff.

        Mehiel admitted during his deposition (Ex. 18 at 28:22-29:22) that he made the decision

to bar Plaintiff based on, “Your behavior during public meetings” and “Such as [Greer] refusing

to leave the room when we went to executive session and having our chief of staff tell you that

he was going to have to call security to evict you if you didn't leave.”, clearly referring only to

the June 9, 2015 incident. Mehiel made no mention of Plaintiff harassing staff over the phone

(see Greer Decl. at ¶ 27).

        Also, in Hyman’s declaration, in her Ex. 13, she provides an email from Mehiel to

Brookfield security’s head of security, Joseph Caparosa, written just hours after Plaintiff

embarrassed and challenged Mehiel’s authority on the boardroom on June 9, 2015. The email

instructed Caparosa to bar Plaintiff from entering in the future (see Greer Decl. at ¶ 28).

        All of this proves that the BPCA’s decision to bar Plaintiff from meetings was not

content neutral. During his act of reporting as a member of the press, as a result of asking

Chairman Mehiel to justify a closed-door executive session, The BPCA decided to single out

Plaintiff, violating the first Amendment.

        51.     “Following the June Meeting, Mehiel sent an email to Joseph Caparosa, the

Security Supervisor at Brookfield Place, instructing building security to “deny Steven Greer

access to the BPCA offices.” The email explained: “Consistent hostile behavior on [Plaintiff’s]

part has caused our concerns for the safety and security of our staff and visitors.” (Hyman Decl.

¶ 33, Ex. 13.)” This is not disputed. It is a crucial admission that is the basis for Plaintiff’s

motion and relief to have Mehiel added back to the list of defendants.




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       This also contradicts ¶ 50 where they claim that the decision was made by a panel in a

rational manner. In fact, the Exhibit 13 email shows that Mehiel fired it off, personally from his

own computer, just hours after Plaintiff challenged him in the boardroom on June 9, 2015. It

seems highly unusual for the Chairman and CEO to do this directly, rather than have Hyman or

McCabe do it. This clearly was the action of a man with a big ego trying to exert dominance and

retaliate against Plaintiff, violating the First Amendment.

       52.     “Mehiel made this decision, in his capacity as Chairman of the BPCA, to ensure

the safety of the BPCA staff and to preserve the ability of the BPCA board to timely and

effectively conduct the business necessary to ensure the BPCA’s continued smooth operations.

(Mehiel Decl. ¶ 15.)” This is disputed, as discussed above (supra ¶ 50). It also conflicts with

Mehiel’s own testimony during his deposition. Mehiel never gave any such rational explanation

for barring Plaintiff during his deposition (see Mehiel Dep. Exhibit 18, at 31:15-33:13). Mehiel

now asserts in his declaration (written by his lawyers) that his decision was well thought out and

made for the best concern of the baord, which is nothing but an ex post facto concocted

explanation.

       53.     “The BPCA board could have, if it so chose, reviewed Mehiel’s decision.

However, it did not do so. (See Mehiel Decl. ¶ 16.)” This is disputed. Mehiel is the Chairman of

the Board and CEO. Never once has a BPCA board member opposed Mehiel on any issue up for

a vote. In fact, nothing in the N.Y. Pub. Auth. Law §1970 states that the BPCA board can

overturn or block an official policy created by the chairman, and the BPCA points to no such

section in the law. To the contrary, in §7 of the law, it states that a quorum of the BPCA board

may conduct business or “delegate to one or more of its members, or to its officers, agents or

employees, such powers and duties as it may deem proper.” (see Greer Decl. at ¶ 29).




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       54.     “Subsequently, in or about May 2016, Plaintiff was permitted to attend BPCA

board meetings in person, at the BPCA offices. (See Order, ECF No. 166.)” This is not disputed.

However, it is a misleading statement because it leaves out the fact that the BPCA was forced to

allow Plaintiff in only after Your Honor signed a federal order (see Greer Decl. at ¶ 30).

Plaintiff’s Ability to Gather the News Was Not Materially Affected

       55.     “Plaintiff observed the July 29, 2015 BPCA board meeting (the “July Meeting”)

by means of the live video feed provided by the BPCA. The video feed was projected onto a

large screen, in full color, with live audio. (See Greer Dep. at 146:17 – 149:22.)” This is

disputed as being completely false. Nowhere in Plaintiff’s deposition cited above (see Greer

Dep. at 146:17 – 149:22.) does it state that he stayed and watched the video. In fact, Plaintiff

promptly left video room and filmed his departure (see Greer Decl. at ¶ 26).

       56.     “As happens at all BPCA board meetings, the public session of the July Meeting

was recorded and made available to the public on the BPCA public website, both in the form of a

live simulcast and as a downloadable video file for later viewing. (See https://batteryparkcity.

granicus.com/ViewPublisher.php?view_id=1.)” This is disputed. The quality of the webcast

online video is of such low resolution, and the angle of the camera obstructs the faces of most of

the board members so much, that in reality the board meetings are not properly filmed and

archived for the purposes of a member of the press (see Greer Decl. at ¶ 31).

       57.     “Accordingly, Plaintiff was able to report on the BPCA board’s activities and

discussions as they occurred in real time, just as any other member of the public viewing the July

Meeting either in person or via the live video feed could have done. (See Hyman Decl. ¶ 32.)”

This is disputed. The live webcast video quality and camera positions are intentionally so poor

that viewers literally cannot determine which members are in attendance or not (see Greer Decl.




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at ¶ 31). This can be seen by viewing a few minutes of these archived videos in the URL listed

in ¶ 56.

           Moreover, Plaintiff was unable to ask questions of members of the audience, who are

often speakers during the meetings as guest accountants, etc. The BPCA members also field and

answer questions from people physically present at the meetings (see Greer Decl. at ¶ 32).

Therefore, Plaintiff was cut out of that data gathering process required for proper press coverage.

           58.    “Likewise, Plaintiff was able to take photographs or video recordings of what

occurred in real time, just as any other member of the public viewing the July Meeting either in

person or via the live video feed could have done. (See id.)” This is disputed. How could

Plaintiff take video or photos if he were half a mile away their “video viewing room” or at home

viewing the video if the video quality was too poor? (see Greer Decl. at ¶ 31). Plaintiff

previously explained that the video quality was too poor. (supra ¶ 56)

           59.    “Indeed, Plaintiff often reported on BPCA board meetings by viewing the

publicly available live streams and did not attend the meetings in person. For example, Plaintiff

published articles on BatteryPark.TV concerning the BPCA board meetings that were convened

on April 16, 2013, June 18, 2013, and July 30, 2013. The audio-visual content posted in

connection with these articles consists of clips from the live stream made publicly available by

the BPCA. (See Tremonte Decl. ¶¶ 32–35, Exs. 31–34.)” This is a disputed statement of fact

based on non sequitur logic. Plaintiff did not “often” skip meetings (see Greer Decl. at ¶ 33). In

fact, the BPCA proves this below, in ¶ 60 below, by showing in Exhibits 12-14 that Plaintiff only

missed three meetings in one year. The absence of Plaintiff from some BPCA meetings is in no

way evidence that in-person attendance is superfluous.




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       60.     “The minutes for the April, June, and July 2013 meetings confirm that Plaintiff

did not attend these meetings in person. (See Tremonte Decl. ¶¶ 13–15, Exs. 12–14.)”

       61.     “As Plaintiff testified at his deposition, “I don’t always videotape because . . . I

know it is being web cast. So I don’t always film.” (Greer Dep. at 137:11–17 (emphasis

added).)” This is disputed. It is an irrelevant and inadmissible statement (per FRE 401, 402, 403)

meant to mislead. Plaintiff stopped video recording BPCA meetings at which he attended

because by being there in person and taking some still photos were often sufficient for press

coverage. He did not stop filming because the webcast video is an adequate surrogate. By

actually sitting in the board room, Plaintiff can tell which board members have been fired, which

are derelict of duty and not attending, who is speaking, etc. However, the video quality from the

BPCA webcasts is too poor to determine these details (see Greer Decl. at ¶ 31).

       62.     “Moreover, Plaintiff’s own posts show that photographs of BPCA board meetings

were not necessary for Plaintiff to report on the BPCA board’s activities. For example,

Plaintiff’s articles about the March 26, 2013, October 22, 2013, June 17, 2014, and July 31, 2014

meetings were accompanied with still photographs that were related to the content of the articles,

but did not depict board meetings. (See Tremonte Decl. ¶¶ 36–38, Exs. 35–37.)” This is disputed

and just silly. It is irrelevant non sequitur that is inadmissible per FRE 401 and 402. Just because

Plaintiff does not use photos from the boardroom from every meeting does not imply that his

being in attendance is unnecessary (see Greer Decl. at ¶ 34).

Mehiel’s Decision was Not Based on the Content of Plaintiff’s Blog Posts

       63.     “Other reporters, including Matt Fenton of the Broadsheet, Sue Malesevic of

Downtown Express, and Carl Glassman of the Tribecca Trib, attended the July Meeting. (See

Tremonte Decl. ¶ 43, Ex. 42.)”




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       “The Broadsheet, Downtown Express and the Tribecca Trib all published articles that

were critical of the BPCA before the July Meeting, and reporters from these publications were

not excluded from the BPCA’s board meetings. (Tremonte Decl. ¶¶ 27–29, Exs. 26–28.)” This is

disputed. It is a misleading and inadmissible (per FRE 403) statement based on faulty analogies.

None of the other local “newspapers” referenced in Tremonte’s declaration have ever reported

with even remotely the same degree of veracity as Plaintiff’s BatteryPark.TV. The BPCA cites a

benign article by the Broadsheet that mentioned troubles with a geothermal well. The BPCA

cites only one article from DowtownExpress from 2010, which is long before the Mehiel

administration of the BPCA started. Likewise, they cite a Tribeca Tribune article from 2011,

before Mehiel began (see Greer Decl. at ¶ 35).

       In stark contrast, Plaintiff’s BatteryPark.TV muckraking of BPCA scandals has been

relentless, with scores and scores of articles exposing sexual harassment scandals, crooked

rigging of RFP government contracts, wasteful spending, etc. Subsequent to BatteryPark.TV

reporting, three presidents of the BPCA abruptly “resigned” (including Robert Serpico), three

press communications officers were fired, and several board members mysteriously “resigned”

(see Greer Decl. at ¶ 36).

       64.     “Mehiel testified that he did not even read BatteryPark.TV. (Mehiel Dep. at

23:2–3.)” This is disputed and false. It is contradicted by the testimony of Mehiel during his

deposition. Mehiel admitted to reading BatteryPark.TV stories and that his Chief of Staff

forwarded to him many articles routinely (see Mehiel Dep. at 23:16-24:2).

The BPCA’s Board Does Not Respond to Public Comments and Questions at Board Meetings

       65.     “At all times relevant to this lawsuit, in keeping with established practice, the

BPCA board did not take questions or respond to public comments from the press or members of




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the public during board meetings. (Hyman Decl. ¶ 34.)” This is disputed. The BPCA routinely

fielded questions during meeting (see Greer Decl. at ¶ 32).

       66.        “During a board meeting on January 22, 2015 (the “January Meeting”), Plaintiff

interrupted the board proceedings in an attempt to ask Mehiel a question. Mehiel declined to

take the question, and stated that the BPCA did not permit public comment at its board meetings:

                  Unfortunately, I apologize for this but . . . due to the protocols
                  there are no public comments and we can’t change that precedent
                  unfortunately I do understand your interest and I will try to be as
                  complete as I can in my explanation.

(Tremonte Decl. ¶ 31, Ex. 30; see also Greer Dep. at 153:20 – 155:18.)” This is disputed and is

contradicted by video evidence. Mehiel did indeed answer several questions that day (see Greer

Decl. at ¶ 32).

       67.        “When Plaintiff continued to pose questions to Mehiel, Mehiel confirmed that

“[w]e do not have public comment during the meetings.” (Tremonte Decl. ¶ 31, Ex. 30

(emphasis added).)” This is disputed and is contradicted by video evidence. Mehiel did indeed

answer several questions that day (see Greer Decl. at ¶ 32).

       68.        “If not before, by the close of the January Meeting, Plaintiff was well aware the

BPCA did not respond to comments or take questions from the press or members of the public at

its board meetings. He specifically acknowledged it in the following editorial note, which he

appended to the video of the January Meeting (which he posted on YouTube): “During the

January 22, 2015 BPCA board meeting, Chairman and CEO Dennis Mehiel admitted on video

record that he does not allow questions from the public . . . .” (Id. (emphasis added).)” This is

disputed. Plaintiff was merely reporting on the official policy of the BPCA, and not the reality of

the meetings where questions were indeed answered by Mehiel (see Greer Decl. at ¶ 32).




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       69.        “Plaintiff acknowledged this policy in several posts on BatteryPark.TV (see

Tremonte Decl. ¶¶ 39–41, Exs. 38–40), including a post titled “BPCA Chairman still refuses to

allow public questions at board meeting” (id. ¶ 39, Ex. 38).” This is disputed. Plaintiff was

merely reporting on the official policy of the BPCA, not the reality of the meetings where

questions were answered by Mehiel (see Greer Decl. at ¶ 32).

       70.        “Plaintiff testified at his deposition that he was aware that BPCA policy did not

permit public questions at BPCA board meetings. (Greer Dep. at 153:20 – 155:18.)” This is

disputed. In Plaintiff’s deposition, he discusses in detail examples of Mehiel fielding questions

from reporters, including the New York Times, after President Boutris was fired, etc. (Greer

Dep. at 157:9-159:25).

       71.        “On October 19, 2016, well after the events at issue in this lawsuit, the BPCA

board adopted a policy that provides for, with certain limitations, public comments at board

meetings (the “October Policy”). Contrary to Plaintiff’s claims, the October Policy is not a result

of this action, or Plaintiff’s “reporting.” The October Policy provides that time may be allocated

for up to ten individuals to address the BPCA board at each meeting. An individual who wishes

to address the board must make a request in advance of the meeting in writing, including a

description of the topic that she would like to address. If approved, that individual’s time for

comment is added to the meeting agenda. (See Hyman Decl. ¶ 35, Ex. 14.)” This is disputed.

Hyman provides no proof, other than her declaration. In Hyman’s own Exhibit 14 of the minutes

of the meeting, it states that the BPCA was implementing the public comment policy after

meeting with the elected officials. Those same officials embarked on their campaign to reform

how the BPCA board meetings transpire after Plaintiff began his reporting in the press (see Greer

Decl. at ¶ 37).




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         72.   “Even under the October Policy, the BPCA board does not take or respond to

questions or otherwise respond to comments from the press or members of the public during

board meetings. (See Mehiel Dep. at 38:16 – 39:14; Hyman Decl. ¶ 35, Ex. 14.)”

         73.   “On November 9, 2016, Plaintiff authored and posted an article on

BatteryPark.TV purporting to take credit for the October Policy. The article is entitled:

“BatteryPark.TV efforts directly cause BPCA to allow public comments at meetings.”

(Tremonte Decl. ¶ 40, Ex. 39.)”

         74.   “The October Policy went into effect on December 7, 2016. On that date,

Plaintiff posted the following on BatteryPark.TV: “Today was the first BPCA board meeting

since the decision to allow heavily screened questions from public members to be read aloud.

There was no Q&A since the BPCA did not reply to the speakers.” (Tremonte Decl. ¶ 41, Ex.

40.)”

Steven Rossi and Robert Serpico Did Not Conspire to Remove Plaintiff from His Apartment

         75.   “Steven Rossi (“Rossi”) is a vice president and director of management services

at Milford Management. (See Rossi Dep. at 6:13–21.)”

         76.   “Because Milford Management leases land from the BPCA, Serpico (in his

capacity as CFO of the BPCA, which position he held at all times relevant to this lawsuit)

interacted with Rossi professionally. (See Serpico Decl. ¶¶ 1–2.)”

         77.   “Serpico and Rossi also met several times per year over coffee to discuss both

business and personal matters. (See Rossi Dep. at 13:17 – 14:12; Serpico Dep. at 34:8 – 35:5;

Serpico Decl. ¶ 3.)”

         78.   “In January 2014, Rossi instructed Clive Spagnoli, the Director of Leasing

Services for Milford Management, to send Plaintiff a letter informing Plaintiff that Milford




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Management had decided not to renew Plaintiff’s lease. (See Rossi Dep. at 12:18–21; Tremonte

Decl. ¶ 17, Ex. 16.)”

       79.     “Rossi, acting on behalf of Milford Management, made the decision not to renew

Plaintiff’s lease. No one, including Serpico, instructed Rossi to make that determination. (See

Rossi Dep. 11:15–23.)”

       This is disputed. In the Swanson deposition, he states that he witnessed Serpico gloating

in the BPCA offices about the decision to not renew Plaintiff’s lease before Plaintiff even knew

about. When asked whether he was responsible, Serpico confirmed that he was behind the

conspiracy with a shrug and smirk (see Swanson Dep., Ex 20 at 24:7-22).

       Serpico’s secretary of 18-years, Linda Soriero, told Plaintiff that she saw an email on

Serpico’s computer asking Rossi to find an excuse to evict Plaintiff. The BPCA did not produce

that email in discovery and quashed a subpoena of a computer server (see Greer Decl. at ¶ 38).

        The egregious spoliation of email and other document evidence warrants sanction that

would prevent the BPCA from arguing that the retaliatory eviction did not take place. FRCP

37(c) gives this Court the explicit authority to sanction the defendants for their failure to provide

the information required under FRCP 26(e).

       Allyson Ford, a former in-house lawyer for the BPCA, testified under deposition on April

12, 2017 shedding light on the motive for Serpico to retaliating against Plaintiff (see Ex. 16 at

9:16-11:13), she explained how the then-acting president Robert Serpico would discuss Plaintiff

and his press coverage in BatteryPark.TV during official board meetings. Serpico instructed staff

to not read or believe what was on the news site. This occurred in 2013 prior to Plaintiff learning

that his lease would not be renewed. Ford also testified that Serpico was the source of

anonymous information being leaked to Plaintiff in order for negative press to be written about




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Serpico’s enemies within the BPCA. Id. 33:2-23. Clearly, Serpico was obsessed with Plaintiff

and his reporting.

         80.    “Rossi made his decision not to renew Plaintiff’s lease in consultation with

Loraine Doyle, a property manager for Milford Management, following a review of the facts

surrounding Plaintiff’s rental history, which showed that Plaintiff had failed to timely pay rent

and was in arrears. This review also showed that other residents at 200 Rector Place and Milford

Management staff had lodged complaints about Plaintiff’s conduct. (See Rossi Dep. at 18:16–

17; 19:24 – 20:21; 27:2 – 29:3; 40:20 – 41:6; 42:2–7.)” This is disputed. (see Greer Decl. at

¶ 39).

         81.    “As of the beginning of January 2014, when Milford Management informed

Plaintiff that his lease would not be renewed, Plaintiff was in arrears in the amount of $8,212.

(See Tremonte Decl. ¶ 26, Ex. 25; Tremonte Decl. ¶ 18, Ex. 17; CAC at 85-1, at 1.)” This is

disputed. Tremonte’s Ex. 17 is a complex accounting document given to him by a third-party and

cannot be analyzed with forensic accounting. It is inadmissible due to the FRE 802 against

hearsay, inter alia.

         The real estate defendants are infamous for inaccurate accounting that generates invoices

that are off by months of rent (see Greer Decl. at ¶ 40). A quick glance at Tremonte’s Ex. 17

proves that this accounting spreadsheet is either wildly inaccurate or the landlord accepted huge

running balances that ran unpaid for long periods of time. For spans of entire years, there are

running balances equal to two-months or more of rent.

         In reality, this “running balance” reflects whatever the lagging accounting system

indicates. If Milford Management was late in processing payments, which was common, then

two months of rent in the balance would show up. Tremonte refers menacingly to this “$8,212”




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as being “in arrears” when in fact it is simply an inaccurate lagging balance tabulation. If

Plaintiff were truly failing to pay rent for two-months at a time, as seems to be indicated by this

inadmissible spreadsheet, then why did the defendants renew Plaintiff’s lease in 2012 and 2013?

       82.     “The complaints that Rossi took into account included complaints made in late

2013 and early 2014 by residents of an adjacent apartment in that Plaintiff was regularly playing

loud music in the early hours of the morning and interfering with their ability to sleep. (See

Rossi Dep. 27:2 – 29:3, 30:15 – 31:6.)” This is disputed. There is no evidence to support it other

than the biased testimony of a defendant. In fact, never did the building staff of 200 Rector Place

notify Plaintiff in any manner that his adjacent neighbors were complaining of noise in the years

2013 or 2014 (see Greer Decl. at ¶ 39).

       83.      “Milford Management staff, including doormen and porters, also complained

about improper conduct by Plaintiff’s that intimidated them. (See Rossi Dep. 32:9–25, 35:17–24,

38:10 – 39:5.)” This is disputed. It is a misleading statement irrelevant to this case and

contradicted by the Rossi. During the Rossi deposition, when asked about specific examples of

Plaintiff causing trouble, he could not think of any details or specific dates. Rossi only made

vague references to alleged noise complaints some time during 2013 and 2014 made by

Plaintiff’s neighbors (see Rossi Dep. Ex. 21, at 31:12-24). In fact, Plaintiff never received any

notification of any kind about these complaints and the defendants provided no documents to

prove they took place. Therefore, they in no way gave the defendants a justification for evicting

Plaintiff in January of 2014.

       84.     “Serpico played no role whatsoever in in [sic] Rossi’s decision not to renew

Plaintiff’s lease on the Apartment. (Serpico Decl. ¶ 4.)” This is highly disputed. A mountain of




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evidence points to Serpico as the instigator of a conspiracy to retaliate against Plaintiff (supra ¶

79 as one example).

Signed this 17th day of July, 2017


Signature of Plaintiff ___________________

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